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                             EXHIBIT 3
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION




____________________________________
                                    )
IN RE NATIONAL                      )
PRESCRIPTION OPIATE                 )      MDL No. 2804
LITIGATION                          )      CASE NO. 17-MD-2804
                                    )      (DAP)
____________________________________)




             SUPPLEMENTAL EXPERT REPORT OF ROBERT MANESS

                                  June 6, 2019
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1.       I am Robert Maness. I have previously submitted an expert report in this matter.1 In that
         report I offered corrections to Craig McCann’s market share calculations for Henry Schein,
         Inc. (“Schein”) and Henry Schein Medical Systems, Inc. (collectively “Henry Schein
         Defendants”) for Summit County and Cuyahoga County Ohio as well as the state of Ohio
         as a whole.2 I also reviewed Schein’s transaction data and U.S. external, third-party revenue
         data to determine Schein’s total sales in dollars of opioids in Summit County, Cuyahoga
         County, and the state of Ohio as a whole as well as the de minimis proportion of Schein’s
         total sales that are attributable to opioids.3 My prior report concluded that Schein has had
         a de minimis market share of the opioid wholesale distribution market, and that Schein’s
         opioid sales were such a small portion of its overall sales that no economic incentive existed
         for Schein to participate in any alleged coordinated action to increase the use of, or the
         market size related to, opioids.

I.       SUPPLEMENTAL CALCULATIONS

2.       I have been asked by counsel to review Schein’s comprehensive transaction data for
         Summit County for the years 2006-2018 and determine the proportion of Schein’s overall
         business in Summit County that is attributable to the sale of opioids.

3.       Schein provided me with additional transaction level data detailing the extent of its overall
         sales in Summit County, Ohio, including sales of opioids for the 2006-2018 period.4 This
         supplemental data is in addition to the opioid-only transaction data for Schein that I
         reviewed in preparing my initial report.5 Supplemental Exhibit B contains additional
         materials and sources reviewed in this matter since my original Report.

4.       Schein’s total opioid net sales and net sales for all products for each year in Summit County
         are shown in Table 1. Schein’s total net sales of all products in Summit County have ranged
         between $4.1 million and $5.8 million annually. Schein’s total opioid sales in Summit



1
  Expert Report of Robert Maness, May 10, 2019. (“Maness Report”). As I addressed in the Maness Report, Henry
Schein Medical Systems, Inc. does not sell opioids and neither McCann’s report nor his supporting materials confirms
the same.
2
  Maness Report, § III.
3
  Maness Report, § IV.
4
  2019.05.19 - HSI Total Transactions to Summit County 2006-2018.xlsx.
5
  HSI Opioid Sales 1.1.06 to 12.31.18.xlsx.


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         County are miniscule in comparison to its overall business and do not represent a
         significant portion of Schein’s business, ranging from just $22 to $6,941. These sales pale
         in comparison to Schein’s overall net sales in Summit County. In fact, opioids as a percent
         of Schein’s Summit County sales range from less than one-one hundredth of a percent
         (<0.01%) to less than two tenths of one percent (<0.2%) of Schein’s annual net sales.
         Further, Schein’s opioid sales as a percentage of net sales in Summit County has fallen
         from a de minimis 0.17% to practically zero from 2006 to 2018.

                                            Table 1
                        Henry Schein, Inc.’s Opioid6 Share of Net Sales
                                   Summit County, 2006-2018
       Year      HSI Opioid Invoiced Sales    HSI Net Sales       Opioid Share of Sales
       2006               $6,941                $4,073,017               0.17%
       2007               $6,299                $4,484,011               0.14%
       2008               $5,305                $4,986,987               0.11%
       2009               $2,300                $4,208,302               0.05%
       2010                $234                 $4,627,215               0.01%
       2011               $1,068                $4,655,069               0.02%
       2012               $1,621                $5,525,329               0.03%
       2013                $171                 $5,209,481               0.00%
       2014                $36                  $5,065,192               0.00%
       2015                $22                  $5,819,040               0.00%
       2016                $239                 $5,359,944               0.00%
       2017                $68                  $5,235,218               0.00%
       2018                $101                 $5,464,885               0.00%


5.       I have also investigated Schein’s sales to top customers in Summit County over the time
         period spanning 2006 to 2018. I have ranked each of Schein’s Summit County customers
         by their total purchases from 2006 to 2018. Schein’s top 30 customers account for $33.2
         million of the overall $64.7 million in Summit County sales from 2006 to 2018, or
         approximately 51 percent. Table 2 shows the total sales in Summit County by customer for
         each of the top 30 customers as well as each of those customer’s total purchases of opioids.
         Only 4 of Schein’s top 30 customers purchased any opioids at all during this time period
         and only one of those customers had purchases exceeding $350. Additionally, only one top
         30 Summit County customer purchased opioids in excess of one-one hundredth of a percent

6
  This data includes transactions for all opioids, including Schedule III, IV, and V opioids, RX opioids, and
treatment drugs that are excluded in Dr. McCann’s calculations.


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         of their total purchases (0.01%), and even that customer’s opioid purchases only accounted
         for 0.32% of its overall purchases. Overall, Schein’s top 30 Summit County customers
         (accounting for over half of total sales in Summit County) purchased only $2,108 in opioids
         from 2006 to 2018. These opioid purchases are a de minimis fraction (0.01%) of the $33.2
         million in total sales to these same customers.

                                         Table 2
          Henry Schein, Inc. Customer’s Opioid7 Purchase Share of Total Purchases
                                Top-30 Customers, 2006-2018
             Customer ID        Opioid Purchases       Total Purchases      Opioid Share of Purchases
             587802                   $350               $4,099,779                  0.01%
             158985                     $0                $4,019,086                 0.00%
             1332838                   $0                 $1,932,292                 0.00%
             602411                   $162               $1,344,955                  0.01%
             137918                     $0                $1,268,851                 0.00%
             1054765                   $0                 $1,231,446                 0.00%
             2724644                   $0                 $1,198,067                 0.00%
             230783                    $20               $1,187,433                  0.00%
             2558612                   $0                 $1,159,316                 0.00%
             130819                     $0                $1,072,195                 0.00%
             259046                     $0                $1,030,347                 0.00%
             154374                    $0                  $964,192                  0.00%
             1047093                   $0                  $955,201                  0.00%
             331849                    $0                  $926,624                  0.00%
             551596                    $0                  $911,942                  0.00%
             1367781                   $0                  $876,023                  0.00%
             578345                    $0                  $842,442                  0.00%
             691140                    $0                  $813,064                  0.00%
             1627132                   $0                  $810,950                  0.00%
             1784372                   $0                  $752,549                  0.00%
             131833                    $0                  $749,318                  0.00%
             185231                    $0                  $747,747                  0.00%
             157692                    $0                  $639,579                  0.00%
             1064522                   $0                  $614,956                  0.00%
             721805                    $0                  $557,336                  0.00%
             132467                    $0                  $538,595                  0.00%
             1331037                   $0                  $517,892                  0.00%
             569642                    $0                  $497,476                  0.00%
             554228                  $1,577                $494,701                  0.32%
             199969                    $0                  $484,749                  0.00%
             Total Top-30            $2,108              $33,239,102                 0.01%
             Summit County           $24,405             $64,713,690                 0.04%




7
  This data includes transactions for all opioids, including Schedule III, IV, and V opioids, RX opioids, and
treatment drugs that are excluded in Dr. McCann’s calculations.


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6.       I have also looked at Schein’s annual sales to its top 30 Summit County customers.
         Schein’s annual sales to the top 30 customers as a collective range from $1.8 million to
         $3.4 million. However, the total annual opioid purchases for the top 30 customers as a
         collective never exceeded $535. In three years (2010, 2011, and 2014) Schein’s top 30
         Summit County customers purchased no opioids at all. Opioids as a percent of total
         purchases ranged from zero to only 0.03% for the top 30 customers. Table 3 shows the
         annual purchases of opioids and all products for Schein’s top 30 Summit County
         customers.

                                            Table 3
                        Henry Schein, Inc.’s Opioid8 Share of Net Sales
                         Top 30 Customers, Summit County, 2006-2018
       Year      HSI Opioid Invoiced Sales    HSI Net Sales       Opioid Share of Sales
       2006               $535                  $1,832,220               0.03%
       2007               $476                  $2,190,329               0.02%
       2008               $276                  $2,465,017               0.01%
       2009               $310                  $2,206,388               0.01%
       2010                 $0                  $2,234,894               0.00%
       2011                 $0                  $2,347,949               0.00%
       2012               $188                  $3,096,044               0.01%
       2013                $54                  $2,735,728               0.00%
       2014                 $0                  $2,847,801               0.00%
       2015                $22                  $3,441,865               0.00%
       2016               $112                  $2,700,643               0.00%
       2017                $68                  $2,516,976               0.00%
       2018                $68                  $2,623,247               0.00%


II.      SUPPLEMENTAL CONCLUSIONS

7.       Opioids account for a de minimis, decreasing portion of Schein’s overall business in
         Summit County ranging from 0.17% to zero (Table 1). Furthermore, the vast majority of
         Schein’s top Summit County customers (26 of the top 30) purchased no opioids at all from
         2006 to 2018 (Table 2). From an economic and financial perspective, opioids are not a
         meaningful portion of Schein’s sales business in Summit County. Opioid sales represent
         a tiny fraction of Schein’s overall Summit County revenue, such that Schein would have


8
  This data includes transactions for all opioids, including Schedule III, IV, and V opioids, RX opioids, and
treatment drugs that are excluded in Dr. McCann’s calculations.


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      very little incentive or reason to increase its opioid sales in Summit County, much less to
      participate in any alleged coordinated action with the other defendants to do so.



Date: June 6, 2019

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                                                                       Robert S. Maness, Ph.D.




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   Charles River Associates                                                         6/6/2019
                                     Supplemental Exhibit B

Documents Reviewed:
Document                                                               Bates Nos.
2019.05.19 - HSI Total Transactions to Summit County 2006-2018.xlsx.




                                                                                          1
